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 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
 2 LAW OFFICES OF JAMES R. GREINER
   1024 IRON POINT ROAD
 3 FOLSOM, CALIFORNIA 95630
   TELEPHONE:(916) 357-6701
 4 FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     ANDREA CADENA
 6
 7
 8                IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,      )               CR.-S-07-248-21 WBS
11                                  )
          PLAINTIFF,                )               STIPULATION AND PROPOSED
12                                  )               ORDER CONTINUING THE
          v.                        )               JUDGMENT AND SENTENCING
13                                  )               DATE TO
                                    )               MONDAY, JUNE 24, 2013
14                                  )
     ANDREA CADENA,                 )
15                                  )
          DEFENDANT.                )
16   _______________________________)
17
18         The parties, the United States of America, represented by Mr. Jason Hitt and
19   Mr. William Wong, and the defendant, Andrea Cadena, represented by Mr. James R.
20   Greiner, hereby agree and stipulate that the present date set for Judgment and
21   Sentencing, Monday, February 25, 2013, can be vacated by the Court.
22         The parties, the United States of America, represented by Mr. Jason Hitt and
23   Mr. William Wong, and the defendant, Andrea Cadena, represented by Mr. James R.
24   Greiner, hereby agree and stipulate that a new date of Monday, June 24, 2013 at 9:30
25   a.m., can be set by the Court for the new Judgment and Sentencing date.
26         The parties also agree to modify the Disclosure dates for the pre-sentence
27   investigation report as follows:
28                                              1
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 1               Judgment and Sentencing date                  June 24, 2013
 2               Formal Objections                            June 10, 2013
 3               Final Report to the Court and Counsel         June 3, 2013
 4               Informal Objections to Probation              May 20, 2013
 5
 6
           Defense counsel has discussed this with the defendant and the defendant is in
     agreement with these dates. Probation is also in agreement.
 7
 8                                   BENJAMIN B. WAGNER
                                     UNITED STATES ATTORNEY
 9
10                                   /s/ Jason Hitt -by e mail authorization
     DATED: 2-21-13                  _____________________________________
11
                                     Jason Hitt
12                                   William Wong
13
                                     ASSISTANT UNITED STATES ATTORNEYS
                                     ATTORNEY FOR THE PLAINTIFF
14
15
     DATED: 2-21-13
16                                   LAW OFFICES OF JAMES R. GREINER
17
                                     /s/ JAMES R. GREINER
18
                                     ___________________________________
19                                   JAMES R. GREINER
                                     ATTORNEY FOR DEFENDANT
20
                                     ANDREA CADENA
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22
23
24
25
26
27                                         ORDER
28                                             2
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 1         The Court after reading and considering the parties agreements and stipulations,
 2
     adopts them as follows:
 3
 4               Judgment and Sentencing date                  June 24, 2013
 5
                 Formal Objections                             June 10, 2013
 6
 7               Final Report to the Court and Counsel         June 3, 2013

 8               Informal Objections to Probation              May 20, 2013
 9
           The Court vacates the Judgment and Sentencing date of Monday, February 25,
10
11   2013 and resets the Judgment and Sentencing to Monday, June 24, 2013 at 9:30 a.m.
12
                 FOR GOOD CAUSE SHOW, IT IS SO ORDERED.
13
14
15   DATED: February 26, 2013
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